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                        IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

IN RE:                                                      §
                                                            §     CHAPTER 11
                                                            §
REMARKABLE HEALTHCARE OF                                    §     CASE NO. 24-40605
CARROLLTON LP, ET AL., 1                                    §
                                                            §     (Jointly Administered)
                                                            §
                           DEBTORS.                         §

AMENDED NOTICE OF HEARING ON THE FIRST INTERIM FEE APPLICATION OF
GUTNICKI LLP FOR COMPENSATION AND REIMBURSEMENT OF EXPENSES AS
 COUNSEL TO THE DEBTORS AND DEBTORS IN POSSESSION FOR THE PERIOD
             FROM MARCH 20, 2024 THROUGH MAY 31, 2024

        PLEASE TAKE NOTICE that the First Interim Fee Application of Gutnicki LLP for

Compensation and Reimbursement of Expenses as Counsel to the Debtors and Debtors in

Possession for the Period from March 20, 2024 through May 31, 2024 [Dkt #196] is set for hearing

on Tuesday, August 20, 2024 at 1:30 P.M. (CST) in the courtroom of the Honorable Brenda T.

Rhoades, Suite 300B, 660 N. Central Expressway, Suite 300B, Plano, Texas 75074.

        Dated: July 24, 2024



                                                             GUTNICKI LLP

                                                             /s/ Alexandria Rahn
                                                             Liz Boydston (SBN 24053684)
                                                             Alexandria Rahn (SBN 24110246)
                                                             10440 N. Central Expy., Suite 800
                                                             Dallas, Texas 75231
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                                                             lboydston@gutnicki.com

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 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number, are: Remarkable Healthcare of Carrollton, LP (5960), Remarkable Healthcare of Dallas, LP (3418),
Remarkable Healthcare of Fort Worth (1692), Remarkable Healthcare of Seguin, LP (4566), and Remarkable
Healthcare, LLC (5142).

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                                                  arahn@gutnicki.com

                                                  -and-

                                                  Max Schlan (admitted Pro Hac Vice)
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                                                  Counsel to the Debtors and Debtors in
                                                  Possession




                              CERTIFICATE OF SERVICE

       The undersigned hereby certifies that this document was served on July 23, 2024 on the
U.S. Trustee, Subchapter V Trustee, Lender, Landlord, Regions Bank, HHS and the US Attorney,
and any party who consents to service via the court’s ECF noticing service.

                                                  /s/ Alexandria Rahn
                                                  Alexandria Rahn




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